            Case 4:02-cr-40078-JPG                     Document 1189 Filed 01/24/12                      Page 1 of 2          Page ID
A0245D                                                           #1668
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT
                                                          Southern District of Illinois

         UNITED STATES OF AMERICA
                             v.
                   Everett E. Martin

                                                                         Case No. 4:02CR40078-014-JPG
                                                                         USM No. 05793-025
                                                                           Eric W. Butts
                                                                                                  Defendant's Attorney
THE DEFENDANT:
if admitted guilt to violation of condition(s)          as alleged below                  of the term of supervision.
D was found in violation of condition(s)              ___________ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                   Violation Ended
Standard #9                       The defendant associated with a convicted felon                             11/10/2011




       The defendant is sentenced as provided in pages 2 through _ _:2:__of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2063

Defendant's Year ofBirtb:           1974

City and State of Defendant's Residence:
Mcleansboro, IL 62859
                                                                                                                        District Judge
                                                                                                 Name and Title of Judge


                                                                                                          Date
               Case 4:02-cr-40078-JPG                     Document 1189 Filed 01/24/12          Page 2 of 2           Page ID
 AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations #1669
               Sheet 2-Imprisonment
                                                                                             Judgment- Page _   _,2.__ of        2
 DEFENDANT: Everett E. Martin
 CASE NUMBER: 4:02CR40078-014-JPG


                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
12 months




    D The court makes the following recommendations to the Bureau of Prisons:




    t/ The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
           D     at   --------- D                    a.m.     D   p.m.       on
           D     as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

 l have executed this judgment as follows:




           Defendant delivered on                                                 to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL



                                                                         By ----~~~~~~~~~~~--­
                                                                                DEPUTY UNITED STATES MARSHAL
